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                                   STATEMENT OF FACTS

        Your affiant,                        , is a Special Agent with the Federal Bureau of
Investigation ("FBI") assigned to the Joint Terrorism Task Force (JTTF), Domestic Terrorism'
Squad in Indianapolis, Indiana. During my assignment with the JTTF, I have conducted
investigations regarding material support of terrorism, weapons violations, explosives violations,;
as well as racially motivated or anti-government/anti-authority violent extremism. Prior to
assignment to the Indianapolis FBI, I was assigned to the public corruption/white collar crime'
squad in Chicago, Illinois. I investigated numerous incidents involving narcotics, weapons
violations, assaults, larcenies, burglaries, and fraud and other crimes. Through my employment
with the FBI, I have gained knowledge in the use of various investigative techniques, including,
but not limited to, conducting physical surveillance, conducting interviews, obtaining infom1ation
through administrative and grand jury subpoenas, preparing and executing state and federal search:
warrants, preparing reports, and reviewing electronic evidence.

        Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law to engage in or supervise:
the prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include pem1anent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S..
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were.
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at.
approximately 1 :00 p.m. Shortly thereafter, by approximately 1 :30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
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Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone, this
18th day of March 2024.




                                                            G.MICHAEL HARVEY
                                                            U.S. MAGISTRATE JUDGE
